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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In the Matter of:                            )
                                             )               Case No.: 2:23-mj-708
United States of America                     )
      v.                                     )
John Zachary Brown                           )               Magistrate Judge: Vascura
48825 Hopedale-Smithfield Road               )
Hopedale, Ohio 43976                         )


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Damon Willaman, a Deputy United States Marshal, being duly sworn, do hereby declare
and state the following:
                                       INTRODUCTION
   1. I am a Deputy United States Marshal (DUSM) assigned to the Southern District of Ohio,
       Columbus Office, and have been so employed since June 2010. I am a graduate of Basic
       Deputy U.S. Marshal Academy at the Federal Law Enforcement Training Center
       (FLETC) in Glynco, GA in October 2010 as well as the Criminal Investigator Training
       Program at FLETC in August 2010. I also receive regular in-service training in fugitive
       and sex offender investigations from the U.S. Marshals Service (USMS) as well as
       various other federal and state resources. During my career, I have been assigned to
       multiple fugitive, escape and sex offender investigations. I am the District Sex Offender
       Coordinator (DSOC) for the Southern District of Ohio and primarily conduct
       investigations involving sexual offenders and their duty to register. As a DSOC, I am
       authorized under 28 U.S.C. § 564 to enforce the laws of the United States, including
       violations of the Sex Offender Registration and Notification Act (SORNA), 42 U.S.C. §
       16901, et seq., and federal Failure to Register offenses, pursuant to 18 U.S.C. § 2250.
   2. The statements contained in this affidavit are based in part on information provided by
       local and state law enforcement in both Ohio and West Virginia; written reports about
       this investigation that I have received, directly or indirectly, from other law enforcement
       agents; and my experience, training, and background as a DUSM. Since this affidavit is
       being submitted for the limited purpose of obtaining a criminal complaint, I have not

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   included every fact known to me concerning this investigation. I have set forth only the
   facts necessary to establish probable cause that a federal crime has been committed. I
   have not omitted any facts that would negate probable cause. I have set forth only the
   facts that I believe are necessary to establish probable cause to believe that John Zachary
   Brown committed the violation listed below.
3. This affidavit is submitted to show that there is probable cause to believe that SCOTT
   has violated criminal laws, including 18 U.S.C. § 2250 (a) – Failure to Register as a Sex
   Offender.
                                  PROBABLE CAUSE
4. On or about August 8, 2023, the United States Marshals Service (USMS) in the Southern
   District of Ohio received information from the USMS Southern District of West Virginia
   relating to a convicted West Virginia sex offender currently residing in Ohio with a n
   active warrant. Specifically, your affiant learned that John Zachary BROWN was living
   in Hopedale, Ohio and failed to notify West Virginia authorities of his new address and
   had also failed to register with Ohio authorities.
5. Information provided to your affiant revealed that BROWN had been convicted of three
   separate counts of Sexual Assault in the Circuit Court of Greenbrier County, West
   Virginia in violation of West Virginia Code Section 61-8B-5 under case number 04-F-
   83(R). On August 30, 2004, BROWN was convicted of all three counts of Sexual
   Assault, felonies in the third degree. On December 27, 2004, BROWN was sentenced to
   a term of imprisonment on each count between one and five years in length, with each
   count to be served consecutively to the others. BROWN was also ordered to register as a
   sex offender with a lifetime registration requirement.
6. Your affiant also learned that the defendant had a prior charge of Failure to Register as a
   Sex Offender (WV Statute 15-12-8(c), case #16F05) in Greenbrier, West Virginia which
   he was convicted of on or about September 16, 2016. BROWN was sentenced to another
   term of incarceration between one to five years, but that sentence was ultimately
   suspended, and he was placed on three years’ probation.
7. According to West Virginia records, on or about June 1, 2023, BROWN registered as a
   sex offender in West Virginia for the last time. This occurred at the West Virginia State
   Police office in Greenbrier County. BROWN listed his home address of record as 260

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   Autumn Hills Drive in Renick, West Virginia and signed a document to that effect. In
   the document, BROWN also agreed to the following statement: “I must register as a Sex
   Offender with the State of West Virginia State Police Detachment in the following
   manner: Change in address or residence is to another state, I must advise the West
   Virginia State Police of the new address ten (10) business days prior to the move and
   must register in that state and comply with the laws of that state.”
8. In addition, law enforcement learned BROWN had an active warrant out of Greenbrier
   County, West Virginia for Failure to Register in violation of West Virginia Code section
   15-2-8(c) at the time they were notified about the case. The warrant was issued under
   case number 23-M13F-00128 on or about August 2, 2023, for a violation date of July 31,
   2023. In addition, on or about August 4, 2023, the West Virginia Department of
   Corrections (WVDOC) issued an arrest warrant for BROWN, charging him with a Parole
   Violation for another offense he had been convicted of, specifically Fleeing with
   Reckless Indifference, in the state of West Virginia.
9. USMS in the Southern District of Ohio confirmed that BROWN was likely living at
   48825 Hopedale-Smithfield Road, in Hopedale, Ohio which is located within the
   Southern District of Ohio. Further confirmation via open-source checks revealed this
   address belonged to M.B., the mother of BROWN. Law enforcement also learned that
   BROWN had attempted to transfer his parole to Ohio, but that transfer had been denied.
10. A search of law enforcement databases revealed that BROWN has not registered as a sex
   offender in the State of Ohio since 2011. BROWN’s last known registration was with the
   West Virginia State Police on June 1, 2023 when he provided the 260 Autumn Hills
   Drive address as his residence as noted above.
11. On or about August 16, 2023, the Southern Ohio Fugitive Apprehension Strike Team
   (SOFAST) attempted to arrest BROWN at the 48825 Hopedale-Smithfield Road address.
   Officers made contact with M.B. and other family members. M.B. permitted officers to
   search the home and BROWN was not located within it, however, officers observed his
   wallet and other personal belongings were in the home. Officers then spoke with M.B.
   Who indicated that BROWN had lived in her home for a month or more, and that he had
   his own bedroom on the first floor. M.B. further stated that BROWN had left for the day
   to do odd jobs.

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12. On or about November 16, 2023, members of SOFAST returned to 48825 Hopedale-
   Smithfield Road address to arrest BROWN for the outstanding West Virginia warrants.
   Officers were forced to breach the door after BROWN, who was at the residence at the
   time, refused to allow law enforcement inside. One SOFAST members were able to enter
   the residence, BROWN was non-compliant with verbal commands and resisted arrest.
13. After BROWN was placed under arrest for his parole violation warrant out of West
   Virginia, officers again interviewed M.B. who was present on scene. M.B. confirmed
   that BROWN has been living in her home continuously since police had come there
   looking for him in August 2023.
14. After BROWN was placed under arrest, he was advised on his Miranda warnings upon
   transport to the Harrison County Jail, in Cadiz Ohio. BROWN acknowledged his
   Miranda rights and agreed to speak to USMS officers. During that conversation,
   BROWN admitted that he had been living in Ohio with his mother since approximately
   March 2023. Further, BROWN stated that he had not registered as a sex offender since
   moving to Ohio.
                                     CONCLUSION
15. Based on the aforementioned facts, I request that the Court issue the proposed criminal
   complaint and arrest warrant for the individual listed above, as there is probable cause to
   believe John Zachary BROWN has committed violations of federal law, including 18
   U.S.C. § 2250(a) – Failure to Register as a Sex Offender


                                                        Damon Willaman
                                                        Damon Willaman
                                                        Deputy U.S. Marshal
                                                        United States Marshals Service



   Subscribed and sworn to before me on the 20th day of December, 2023


                                                        __________________________
                                                        The Honorable Chelsey M. Vascura
                                                        United States Magistrate Judge
                                                        Southern District of Ohio

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